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          In the United States Court of Federal Claims
                                         No. 20-540T
                                   Filed: November 5, 2020


 MARY A. HILL and AARON E.
 FUHRMAN,

                    Plaintiffs,

 v.

 THE UNITED STATES,

                    Defendant.


                                           ORDER

       On November 5, 2020, Plaintiffs filed a Motion for Voluntary Dismissal under RCFC
41(a)(2). (ECF No. 14). The parties agree that Plaintiffs’ Complaint should be dismissed without
prejudice. That Motion is GRANTED, the Clerk is directed to enter judgment.

       IT IS SO ORDERED.

                                                                  s/  David A. Tapp
                                                                  DAVID A. TAPP, Judge
